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                                                               page]
18   [Additional counsel listed on signature page]
                              IN THE UNITED STATES DISTRICT COURT
19                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           OAKLAND DIVISION
20
21   GENTEX CORPORATION and INDIGO
     TECHNOLOGIES, LLC,
22
                            Plaintiffs,                   Case No. 4:22-cv-03892-YGR
23
     THALES VISIONIX, INC.,                               STIPULATION AND [PROPOSED]
24                                                        ORDER TO EXTEND DEADLINE TO
                            Involuntary Plaintiff,        FILE REPLY BRIEF RE JOINT
25                                                        MOTION TO DISMISS
             v.
26                                                      Judge: Hon. Yvonne Gonzalez Rogers
     META PLATFORMS, INC. and META
27   PLATFORMS TECHNOLOGIES, LLC,

28                          Defendants.
     STIPULATION AND [PROPOSED] ORDER TO                                CASE NO. 4:22-CV-03892-YGR
     EXTEND BRIEFING DEADLINE
          Case 4:22-cv-03892-YGR Document 149 Filed 01/31/24 Page 2 of 4



1           WHEREAS, on January 12, 2024, plaintiffs Gentex Corporation and Indigo Technologies,
2    LLC (collectively, “Gentex”) and defendants Meta Platforms, Inc. and Meta Platforms Technologies,
3    LLC (collectively, “Meta”) jointly moved to dismiss (see Docket No. 139); and
4           WHEREAS, involuntary plaintiff Thales Visionix, Inc. (“Thales”) filed a response to Meta’s
5    and Gentex’s joint motion to dismiss on January 26, 2024 (see Docket No. 146); and
6           WHEREAS, Gentex’s and Meta’s reply brief is currently due on February 2, 2024; and
7           WHEREAS, the hearing on the joint motion to dismiss is currently scheduled for February 20,
8    2024; and
9           WHEREAS, the parties have conferred and agreed that a short extension of the deadline for
10   Meta’s and Gentex’s reply is appropriate, up to and including February 7, 2024; and
11          WHEREAS, good cause exists for this extension.
12   NOW, THEREFORE, the parties hereby stipulate and agree as follows:
13          1.     Gentex’s and Meta’s reply in support of their joint motion to dismiss is due on February
14   7, 2024.
15

16   Dated: January 30, 2024                       Respectfully submitted,
17
                                                    /s/ Joshua Glucoft
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      STIPULATION AND [PROPOSED] ORDER TO             1                  CASE NO. 4:22-CV-03892-YGR
      EXTEND BRIEFING DEADLINE
         Case 4:22-cv-03892-YGR Document 149 Filed 01/31/24 Page 3 of 4



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     Visionix, Inc.
17

18
                                         SIGNATURE ATTESTATION
19
            Under Local Rule 5-1(i)(3), I attest that I have obtained concurrence in the filing of this
20
     document from the other signatories.
21
     Dated: January 30, 2024
22                                                   Matthew S. Warren
23

24

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28
      STIPULATION AND [PROPOSED] ORDER TO               2                   CASE NO. 4:22-CV-03892-YGR
      EXTEND BRIEFING DEADLINE
          Case 4:22-cv-03892-YGR Document 149 Filed 01/31/24 Page 4 of 4



1                                           [PROPOSED] ORDER
2           Having reviewed the above stipulation, IT IS HEREBY ORDERED that the Court finds that

3    good cause exists for the entry of this Order:

4           1.      Gentex’s and Meta’s reply in support of their joint motion to dismiss (Docket No. 139)

5    is due on February 7, 2024.
        2. The hearing scheduled on defendants' joint motion to dismiss is continued to Feb. 27, 2024 at
6
        2:00 p.m.
7    IT IS SO ORDERED.

8    DATED: January 31, 2024
                                                      HONORABLE YVONNE GONZALEZ ROGERS
9                                                     UNITED STATES DISTRICT JUDGE
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      STIPULATION AND [PROPOSED] ORDER TO                3               CASE NO. 4:22-CV-03892-YGR
      EXTEND BRIEFING DEADLINE
